
ORDER
Considering the foregoing Joint Petition for Interim Suspension:
Pursuant to Article V, Section 5 of the Louisiana 1974 Constitution as well as the inherent powers of this Court to regulate the practice of law,
IT IS ORDERED, ADJUDGED AND DECREED that the respondent, JUDITH Z. GARDNER, attorney at law, be and she is hereby interimly suspended until further orders of this Court.
The Office of Disciplinary Counsel is ordered to proceed pursuant to Louisiana Supreme Court Rule XIX, Section 11.
/s/ Jack Crozier Watson SUPREME COURT JUSTICE
MARCUS, J., not on panel.
